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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 20-61297-CIV-ALTMAN/Hunt

   BYRON HALL, et al.,

                  Plaintiffs,
          v.

   LVNV FUNDING, LLC, et al.,

               Defendants.
   ____________________________________/



                                  JOINT CONFERENCE REPORT

         Pursuant to Rule 16.1 of the Local Rules for the Southern District of Florida, Plaintiffs

  Byron Hall et al., and Defendants LVNV Funding, LLC et al. (collectively, the “Parties”), by and

  through their undersigned counsel, hereby submit this Joint Conference Report and Joint Proposed

  Scheduling Order:

         A. Likelihood of Settlement

          The Parties engaged in preliminary settlement discussions as required by Court order. The
  Parties are still engaged in settlement discussion, but believe settlement is unlikely at this time.

         B. Likelihood of Appearance in Action of Additional Parties

         At the present time, the Parties are unaware of any additional parties who are likely to
  appear or be joined in this action.

         C. Proposed Limits on Time:

                 (i)     To join other parties and to amend the pleadings: December 1, 2020
                 (ii)    To Complete Discovery: June 1, 2021
                 (iii)   To file Dispositive Motions: August 1, 2021

         D. Proposal for Formulation and Simplification of Issues

          The Parties agree to continue discussing the formulation and simplification of issues. The
  Parties are unable to further simplify the issues at this time. After discovery and further
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  investigation, the Parties are hopeful that they will be able to further simplify the issues prior to
  the pre-trial conference, if any, or the trial of this matter.

          E. Necessity or Desirability of Amendments to the Pleadings

          None at this time.

         F. The Possibility of Obtaining Admissions of Fact and of Documents, Electronically
  Stored Information or Things Which Will Avoid Unnecessary Proof, Stipulations Regarding
  Authenticity of Documents, Electronically Stored Information or Things and the Need for
  Advance Rulings from the Court on Admissibility of Evidence

          The Parties agree to endeavor in good faith efforts to enter into stipulations regarding the
  authenticity of documents and other evidentiary matters, if possible. Further, as discovery
  progresses, the Parties will attempt to minimize the need for advance rulings by the Court and
  unnecessary proof by admitting facts that are not disputed. In the event the Parties discover that
  there is relevant ESI, they will discuss the most appropriate form in which to produce that
  information.

          G. Suggestions for Avoidance of Unnecessary Proof and Cumulative Evidence

        None at this time, although the Parties will continue to discuss suggestions for avoiding
  unnecessary proof and cumulative evidence throughout the litigation.

          H. Suggestions on the Advisability of Referring Matters to a Magistrate Judge

        None, although the Parties acknowledge that discovery matters are generally referred to
  the Magistrate Judge as a matter of course.

          I. A preliminary estimate of the time required for trial

         Plaintiff requested a jury trial. The Parties estimate that a jury trial will take one (1) to
  two (2) days.

          J. Requested Dates for Conferences Before Trial, Final Pretrial Conference, and
  Trial

         The Parties request that the case be set for a pre-trial conference on or around September
  15, 2021 and propose a trial date in October 2021.

          K. Any issues about:

     (i) Disclosure, discovery, or preservation of electronically stored information, including the
         form or form in which it should be produced: None at this time




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      (ii) Claims of privilege or of protection as trial preparation materials, including-if the parties
           agree on a procedure to assert those claims after production-whether to ask the Court to
           include their agreement in an order under Federal Rule of Evidence 502: None at this
           time

      (iii) When the parties have agreed to the ESI Checklist available on the Court’s website,
           matters enumerated on the ESI checklist: None at this time.

      L. Any other information that might be helpful to the Court in setting the case for
      status or pretrial conference

         None at this time.

                 Respectfully submitted this 1st day of September 2020.


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